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                                   EXHIBIT 7
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Collection server IP:            54.157.181.49

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

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